Order                                                                                        Michigan Supreme Court
                                                                                                   Lansing, Michigan

  November 25, 2014                                                                                    Robert P. Young, Jr.,
                                                                                                                 Chief Justice

  148329(76)                                                                                           Michael F. Cavanagh
                                                                                                       Stephen J. Markman
                                                                                                           Mary Beth Kelly
                                                                                                            Brian K. Zahra
                                                                                                    Bridget M. McCormack
  PEOPLE OF THE STATE OF MICHIGAN,                                                                        David F. Viviano,
            Plaintiff-Appellee,                                                                                       Justices

  v                                                                 SC: 148329
                                                                    COA: 302107
                                                                    Oakland CC: 2009-225093-FC
  JONATHAN BELTON,
           Defendant-Appellant.

  _________________________________________/

         On order of the Court, the motion for reconsideration of this Court’s May 27, 2014
  order is considered, and it is DENIED, because it does not appear that the order was
  entered erroneously.




                           I, Larry S. Royster, Clerk of the Michigan Supreme Court, certify that the
                     foregoing is a true and complete copy of the order entered at the direction of the Court.
                           November 25, 2014
         h1117
                                                                               Clerk
